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                                     UNITED STATES BANKRUPTCY COURT
                                      WESTERN DISTRICT OF MISSOURI

In Re:                                                               )      In Proceedings Under Chapter 11
                                                                     )
ATCHISON CASTING CORPORATION,                                        )      Case No. 03-50965-JWV
et al.,                                                              )      Joint Administration
               Debtors.                                              )

                      ORDER APPROVING AUCTION AND BID PROCEDURES
                    FOR SALE OF SUBSTANTIALLY ALL OF THE BUSINESS AND
                         ASSETS OF INVERNESS CASTINGS GROUP, INC.

                      This matter came before the Court upon the Motion Under Sections 105(a), 363

and 365 of the Bankruptcy Code to (i) Approve Auction and Bid Procedures, (ii) Approve the

Sale of Substantially All of the Business and Assets of Inverness Castings Group, Inc. Outside

the Ordinary Course of Business Free and Clear of Liens and Interests, (iii) Assume and Assign

Unexpired Contracts and Leases and (iv) Set a Date for a Sale Hearing (“Motion”).1 After

having considered the Motion and the statements of counsel, the Court hereby finds and

determines that proper and sufficient notice of the Motion has been given, and that certain relief

requested in the Motion, regarding approval of Auction and Bid Procedures, is necessary and

proper under the circumstances and is in the best interests of the estate, and it is hereby

ORDERED that:

                      1.        The Auction and Bid Procedures set forth in the attached Exhibit A are

approved.

                      2.        The Auction and Bid Procedures approved herein shall govern the

submission and consideration of all initial offers and competing bids for the Assets, owned by

the Seller, as described in the LOI and the Purchase Agreement to be executed based thereon;

1
    Capitalized terms used but not defined in this Order shall have the same meaning set forth in the Motion.

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                    3.   The Debtors are further authorized and empowered to take such additional

and other steps as may be necessary or appropriate to effectuate the Auction and Bid Procedures

approved by this Order;

                    4.   A second hearing shall be set on October 20, 2003, at 2:30 p.m. CDT at

which the Court shall consider (1) subject to the terms of the Auction and Bid Procedures, the

approval of the terms of the Purchase Agreement to be entered into based upon the LOI, and the

authorization of Debtors to sell the Assets free and clear of all liens, encumbrances, claims and

interests, including, but not limited to, any existing right(s) of first refusal or similar protective

rights alleged by any party against the Seller or the Assets being sold, and (2) approval of the

assumption and assignment of the executory contracts and unexpired leases.

                    5.   The Form of Notice attached hereto as Exhibit B is approved. All other

potential qualified bidders known to the Debtors are to receive notice. Additional notice need

only be sent to: (i) counsel to Harris Trust and Savings Bank, as Agent; (ii) counsel to Teachers

Insurance and Annuity Association of America, (iii) counsel to the Unsecured Creditors

Committee; (iv) all governmental agencies required to receive notice of proceedings under the

Federal Rules of Bankruptcy Procedure and any local bankruptcy rules; and (v) all entities who

have requested notice pursuant to Bankruptcy Rule 2002. All parties of record shall receive

electronic notice upon entry of this Order.



Dated: September 16, 2003


                                       /s/ Jerry W. Venters
                                       UNITED STATES BANKRUPTCY JUDGE




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ORDER SUBMITTED BY:

Mark G. Stingley, Mo. 26071
BRYAN CAVE LLP
1200 Main Street, Suite 3500
Kansas City, Missouri 64105
Telephone: (816) 374-3200
Telecopy: (816) 374-3300
Attorneys for Debtors and Debtors in Possession

Stingley to Serve




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                                                           EXHIBIT A

                                                Auction and Bid Procedures

          Seller,,/asanadministrativelyconsolidateddebtorintheUnitedStatesBankruptcyCourt(the“BankruptcyCourt”)fortheWestern

DistrictofMissouriinCaseNo.03-50965,hasenteredaLetterofIntent(the“LOI”),thetermsofwhicharetobeincorporatedintoanAsset

PurchaseAgreement(the“PurchaseAgreement”),acceptabletoHarrisTrustandSavingsBankasagentforthelenders(“Agent”)andTeachers

Insurance and Annuity Association of America as a secured lender (“TIAA”) no later than October 1, 2003. The consummation of the

transaction contemplated by the Purchase Agreement is subject to the procedures described herein. Seller shall conduct an auction of the

Seller’s Transferred Assets (as defined in the LOI), pursuant to Section 363 of the Code, pursuant to the following

          1.         SubmissionofCompetingBids. Anyperson(otherthantheBuyerasdefinedintheLOI(the“LeadBidder”))thatwould

liketopurchasetheTransferredAssetsmustsubmitabid(a“CompetingBid”)priorto5:00p.m.onOctober13,2003(the“CompetingBid

Deadline”). EachCompetingBidmust(i)beinwriting;(ii)whenconsideredwithallotherCompetingBidscompriseconsiderationinan

amountequaltoorgreaterthantheaggregateconsiderationmadebytheLeadBidderandmeetingtherequirementsofitbeingattheAlternative

MinimumPurchasePrice(asdefinedbelow);(iii)specifythepropertythatisbeingbidupon;(iv)identifythebidderandthemembersofits

investor group, as applicable; (v) provide information to demonstrate to the satisfaction of the Seller, the Agent and TIAA the financial

wherewithalofthebiddertoconsummatetheproposedtransaction;(vi)includeacopyoftheLOIand/orthePurchaseAgreementbasedupon

theLOIsignedbythebidder(withanychangesfromtheLOIand/orPurchaseAgreementwiththeLeadBiddermarkedelectronically);(vii)

specifywhichleasesandexecutorycontractsoftheSelleraretobeassumedandthemannerinwhichthecureamountswillbesatisfiedbythe

CompetingBidder;(viii)beongenerallythesametermsandconditionsastheLOIand/orthePurchaseAgreementexceptfortheprice(ie.

CompetingBiddersarenotrequiredtoassumethesameassetsandliabilitiesastheLeadBidder);and(ix)beaccompaniedwithacashDeposit

equaltotheDepositsetforthintheLOI. CompetingBidsshouldbesubmittedtotheSeller’sinvestmentbanker,W.Y.Campbell&Company,

OneWoodwardAvenue,26th Floor,Detroit,MI48226,attn:BrianDragon, bdragon@WYCampbell.com,(313)496-9000. Potentialbidders

may obtain copies of the LOI and/or the Purchase Agreement with the Lead Bidder from Mr. Dragon.

1
 /        All capitalized terms not defined herein shall bear as their meanings the definitions ascribed to them in the
          Motion under Sections 105(a), 363 and 365 of the Bankruptcy Code to (i) Approve Auction and Bid
          Procedures, (ii) Approve the Sale of Substantially All of the Business and Assets of Inverness Castings
          Group, Inc. Outside the Ordinary Course of Business Free and Clear of Liens and Interests, (iii) Assume
          and Assign Unexpired Contracts and Leases and (iv) Set a Date for a Sale Hearing.
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         Seller,AgentandTIAA,intheirdiscretionandafterconsultationwithcounselfortheCreditors’Committee,willqualifypotential

bidders according to their financial qualifications to consummate any purchase of the Transferred Assets.

         2.         CreditBid. PartiesinvokingcreditbidrightsunderBankruptcyCode§363(k)arenotrequiredtodepositcashanddonot

have to mark up or file their own Purchase Agreement if they do not propose to have any agreement beyond the acc

         3.         Information to be Provided. Upon written request to the Sellers by any person interested in submitting a bid for the

TransferredAssets,theSellershall,uponexecutionbysuchpersonofaconfidentialityagreementanddemonstrationoftheintenttotimely

consummateatransactionintermsofscopeandvaluethatisofinteresttotheSeller,providesuchpersonwithaccesstorelevantbusinessand

financial information that will enable such person to evaluate the Transferred Assets for the purpose of submitting a

         4.         LeadBid.TheLeadBidderhasbeengrantedcertainbidprotectionsasfollows: (i)abreak-upfeeof$250,000.00(the

“Break-upFee”);and(ii)requiringthatSellerwillnotacceptanybidfromanyotherpartyorparties(an“AlternativePurchaser”)thatdoesnot

deliveraggregateconsiderationequaltoorgreaterthantheamountbeingbidbytheLeadBidderfortheTransferredAssets(the“Alternative

Minimum Purchase Price”).

         In the event the Lead Bidder has executed a Purchase Agreement and either (a) Seller commits a default under the Purchase

AgreementthatcausesthetransactionnottocloseorSellerreceivesaCompetingBidfromanAlternativePurchaserandconsummatesa

transactioninvolvingthesaleoftheTransferredAssetstoanAlternativePurchaserpursuanttotheseAuctionandBidProceduresforapurchase

priceequaltoorgreaterthantheAlternativeMinimumPurchasePrice;or(b)ifSellerconsummatesasaleoftheAssetstoanypurchaserwithin

365daysafterthedateofthecourtorderapprovingtheseAuctionandBidProcedures,theLeadBiddershallattheclosingofthesaleofthe

AssetstotheAlternativePurchaserreceivetheBreak-upFee. TheLeadBiddershallnotbeentitledtotheBreak-upFeeiftheLeadBidder

commitsadefaultunderthePurchaseAgreementthatcausesthetransactionnottocloseorifothercircumstancesexistthatunderthePurchase

AgreementprecludethepaymentoftheBreak-upFeetotheLeadBidder. TheLeadBiddershallnotbeentitledtotheBreak-upFeeifthesale

toanAlternativePurchaserisnotconsummatedonorbeforeoneyearaftertheSaleHearing(asdefinedbelow),unlesstheAlternatePurchaser

isanAffiliate(asthetermisdefinedin11U.S.C.§101(2))ofSeller,inwhicheventtheBreak-UpFeeshallbepayabletotheLeadBidder

wheneverthesaleoftheTransferredAssetstotheAffiliateoccursandregardlessofwhetheraCompetingBidwasreceivedfromsuchAffiliate.

IfaCompetingBidindicatesthatitseekstheassumptionandassignmentofcertainexecutorycontract(s)orunexpiredlease(s),thebidmust

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specifytheCompetingBidder’sagreementtoassumethecurecostsofsuchcontracts(s)orlease(s)andincludesufficientinformationtopermit

theBankruptcyCourt,Seller,theDIPLenders,theCreditors’Committee,andtheaffectednon-debtorpartytotheapplicablecontractorleaseto

determinetheproposedassignee’sabilitytocomplywithSection365oftheCode(totheextentapplicable),includingprovidingadequate

assurance of such assignee’s ability to perform in the future.

          5.        Auction. IfoneormoreCompetingBidshavebeenreceivedpriortotheCompetingBidDeadline,thenat1:30p.m.on

October14,2003,orsuchotherdateastheBankruptcyCourtmaydetermine,SellershallconductanauctionoftheAssetsattheofficesof

BryanCaveLLP,1200MainStreet,Suite3500,KansasCity,Missouri64105(the“Auction”). EachCompetingBidsubmittedattheAuction

must comply with the procedures set forth herein.

          PartiesinvokingcreditbidrightsunderBankruptcyCode§363(k)shallbeentitledtoexercisesuchrightsattheAuction. Eachentity

seekingtobidattheAuctionmust(i)betheLeadBidderorhavesubmittedaCompetingBidasprovidedabovepriortotheCompetingBid

Deadlineand(ii)bedeemedaqualifiedbidderbytheDebtorandAgentinconsultationwiththeCommittee,andappearinpersonattheAuction

or through a duly authorized representative physically present at the Auction.

          IntheeventnoQualifiedBidsaresubmitted,theDebtorswillnotholdtheAuctionandwillproceedtoseekapprovalofthePurchase

AgreementwithLeadBidderattheSaleHearingdefinedbelow. Notwithstandingtheforegoing,intheeventtheAuctionisnotheld,parties

invokingcreditbidrightsunderBankruptcyCode§363(k)shallbeentitledtoexercisesuchrightsattheSaleHearing. Partiesintendingto

exercisesuchrightsunder363(k)shallusetheirbesteffortstoprovideone(1)businessdaysnoticetotheDebtor,theLeadBidder,andthe

Creditors Committee of their intentions to exercise such rights at the Sale Hearing.

          If Seller receives one or more Competing Bids prior to the Competing Bid Deadline which satisfy the bid requirements, each

qualifiedbidderandtheLeadBiddershallhavetheright(andopportunity)tocontinuetoimproveitsbidattheAuction. Allsuchadditional

bidsmustexceedthethenhighestbidbynolessthan.5%ofthecashportionofthePurchasePrice(assetforthinthePurchaseAgreementwith

theLeadBidder)orsuchotherincrementasannouncedattheAuction. CompetingBiddersarenotrequiredtoassumethesameassetsand

liabilities of the Lead Bidder.

          Seller,AgentandTIAA,afterconsultationwiththeCreditors’Committee,willselectthebidattheconclusionoftheAuctionwhich

it believes to be the highest or best bid for the Assets (“Winning Bid”). Seller, Agent and TIAA, after consultation with the Creditors’

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Committee,reservetherighttoselectthebestbid,evenifnotthehighestbid. ThedeterminationoftheWinningBidshallremain,however,

subjecttoBankruptcyCourtapproval. Seller,AgentandTIAA,afterconsultationwiththeCreditors’Committee,shalltakeintoaccountthe

value, if any, of any assumption of pension liabilities when selecting the Winning Bid. The Winning Bidder must complete and sign all

agreementsorotherdocumentswithSellerevidencingandcontainingthetermsandconditionsuponwhichitsWinningBidwasmadebefore

the Auction is concluded.

          6.         Sale Hearing. On October 20, 2003, at 2:30 p.m., or such other date and time as Seller may request, subject to

BankruptcyCourtapproval,theBankruptcyCourtshallholdahearingtodeterminewhethertoapprovetheWinningBidacceptedbySelleras

thehighestorbestbidattheAuction(the“SaleHearing”). IftheLeadBidderobjectstoSeller’sdeterminationofanauthorizedCompetingBid

asthehighestorbestbid,theLeadBidder’ssoleandexclusiveremedyshallbetobidunderprotestattheAuctionandhavestandingattheSale

Hearing to contest Seller’s determination.

          7.         CureAmounts. AtleasttendayspriortotheSaleHearing,theorderapprovingtheseproceduresshallbeservedon(i)all

parties to executory contracts and unexpired leases that could be assumed and assigned, together with a statement of the Debtors as to the

currentintentionoftheLeadBidderregardingitsintentiononacceptingtheassignmentofsuchassumedexecutorycontractsand/orunexpired

leases,alongwiththeproposedamountdueforeachsuchcontractandleaseunderBankruptcyCode§365(b)and(ii)allpartiesholdingliens,

claimsorencumbrancesagainstassetsproposedtobesoldfreeandclearofsuchliens,claimsandencumbrances. IfanyCompetingBidis

received at the Auction, notice shall be immediately sent to all parties to the executory contracts and/or unexpired leases regarding the

CompetingBidder’sintentionsconcerningtheexecutorycontractsorunexpiredleases. Furthermore,allpartiestoexecutorycontractsand/or

unexpiredleasesthatareproposedtobeassumedandassignedandwhodonotagreewiththeproposedassumptionandassignmentand/orthe

proposedcureamountsshallatleastone(1)daypriortotheSaleHearingfileanobjectionwiththeBankruptcyCourtandservesuchobjection

ontheSeller,Agent,TIAAandtheCreditorsCommitteeobjectingtosuchassumptionandassignmentand/ortheproposedcureaccountwitha

statement as to their suggested cure amount.

          8.         Failure of Winning Bidder to Consummate Sale. Provided that the Lead Bidder is the successful bidder at the Auction

andthebidisapprovedattheSaleHearing,theclosingofthesaleoftheTransferredAssetsshallbefive(5)businessdaysfollowingtheentry

ofanorderoftheBankruptcyCourtapprovingthesale,unlessextendedbyagreementoftheSellerandtheAgent. IftheLeadBidderisnotthe

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successfulbidderattheAuctionthentheclosingofthebidthatwasthehighestandbestbidattheAuctionthatisapprovedattheSaleHearing

willoccuronorbeforeNovember21,2003,unlessextendedbyagreementbetweentheSellerandtheAgent. IfforanyreasonaWinning

BidderfailstoconsummateasaleoftheAssets,oranypartthereof,theofferorofthesecondhighestorbestbid(subjecttosamereservations)

for the Assets (as determined by Seller, after consultation with the Agent, TIAA, the DIP Lenders and the Creditors’ Committee), will

automaticallybedeemedtohavesubmittedthehighestandbestbidandSellerisauthorizedtoeffectthesaleoftheAssets,oranypartthereof,

to such offeror as soon as is commercially reasonable without further order of the Bankruptcy Court. If such failure to consummate the

purchase is the result of a breach by the Winning Bidder, such bidder’s deposit, if any, shall be forfeited to Seller.

          AftertheSaleHearing,iftheWinningBidhasbeenselectedandthesaleoftheAssetstotheWinningBidderhasbeenapprovedby

theBankruptcyCourt,depositsgivenbybidderswhoarenottheWinningBiddershallbereturnedassoonaspracticable. Intheeventthe

DebtorsselectaQualifiedBidsubmittedfromanentityotherthantheLeadBidder,thePurchaseAgreementshallbedeemedterminated,the

CashDepositshallbereturnedtotheLeadBidderassoonaspracticableandthebreakupfee,ifany,shallbedueandpayable,attheclosingof

the sale.




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                                           EXHIBIT B

                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF MISSOURI

In Re:                                             )     In Proceedings Under Chapter 11
                                                   )
ATCHISON CASTING CORPORATION,                      )     Case No. 03-50965-JWV
et al.,                                            )     Joint Administration
               Debtors.                            )

                    NOTICE OF HEARING, AUCTION AND BID PROCEDURES

        PLEASE TAKE NOTICE that, upon the Motion Under Sections 105(a), 363 and 365 of
the Bankruptcy Code to (i) Approve Auction and Bid Procedures, (ii) Approve the Sale of
Substantially All of the Business and Assets of Inverness Castings Group, Inc. Outside the
Ordinary Course of Business Free and Clear of Liens and Interests, (iii) Assume and Assign
Unexpired Contracts and Leases and (iv) Set a Date for a Sale Hearing (the “Motion”), a hearing
(the “Sale Hearing”) to approve the highest or best bid at the Auction described below has been
scheduled before the Honorable Jerry W. Venters, the United States Bankruptcy Judge, on
October 20, 2003, at 2:30 p.m. at the United States Bankruptcy Court for the Western District
of Missouri, Courtroom 6A, 400 East Ninth Street, Kansas City, Missouri (the “Court”). At the
Sale Hearing the Court shall further consider the assumption and assignment of executory
contracts and/or unexpired leases and the proper cure amount needed for such assumption and
assignment. Unless otherwise defined herein, capitalized terms shall have the meaning defined
in the Motion.

        PLEASE TAKE FURTHER NOTICE that, prior to the Sale Hearing, Debtors shall
conduct an Auction of Debtors’ Assets, as further described in the proposed Asset Sale and
Purchase Agreement (available on request to Debtors’ counsel), pursuant to Section 363 of the
Bankruptcy Code free and clear of all liens, claims and encumbrances, including, but not limited
to, any right(s) of first refusal or similar protective right alleged by any party against the Seller
or the Assets being sold, pursuant to the terms and conditions contained in the Auction and Bid
Procedures attached hereto as Exhibit 1:

         FOR FURTHER INFORMATION, contact the Debtors’ counsel listed below.

                                      Mark G. Stingley, Mo. #26071
                                      BRYAN CAVE LLP
                                      3500 One Kansas City Place
                                      1200 Main Street
                                      Kansas City, Missouri 64105
                                      Telephone: (816) 374-3200
                                      Telecopy: (816) 374-3300

                                       Attorneys for Debtors and Debtors in Possession



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                                                           EXHIBIT 1

                                                Auction and Bid Procedures

          Seller,,/asanadministrativelyconsolidateddebtorintheUnitedStatesBankruptcyCourt(the“BankruptcyCourt”)fortheWestern

DistrictofMissouriinCaseNo.03-50965,hasenteredaLetterofIntent(the“LOI”),thetermsofwhicharetobeincorporatedintoanAsset

PurchaseAgreement(the“PurchaseAgreement”),acceptabletoHarrisTrustandSavingsBankasagentforthelenders(“Agent”)andTeachers

Insurance and Annuity Association of America as a secured lender (“TIAA”) no later than October 1, 2003. The consummation of the

transaction contemplated by the Purchase Agreement is subject to the procedures described herein. Seller shall conduct an auction of the

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Deadline”). EachCompetingBidmust(i)beinwriting;(ii)whenconsideredwithallotherCompetingBidscompriseconsiderationinan

amountequaltoorgreaterthantheaggregateconsiderationmadebytheLeadBidderandmeetingtherequirementsofitbeingattheAlternative

MinimumPurchasePrice(asdefinedbelow);(iii)specifythepropertythatisbeingbidupon;(iv)identifythebidderandthemembersofits

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equaltotheDepositsetforthintheLOI. CompetingBidsshouldbesubmittedtotheSeller’sinvestmentbanker,W.Y.Campbell&Company,

OneWoodwardAvenue,26th Floor,Detroit,MI48226,attn:BrianDragon, bdragon@WYCampbell.com,(313)496-9000. Potentialbidders

may obtain copies of the LOI and/or the Purchase Agreement with the Lead Bidder from Mr. Dragon.

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          Motion under Sections 105(a), 363 and 365 of the Bankruptcy Code to (i) Approve Auction and Bid
          Procedures, (ii) Approve the Sale of Substantially All of the Business and Assets of Inverness Castings
          Group, Inc. Outside the Ordinary Course of Business Free and Clear of Liens and Interests, (iii) Assume
          and Assign Unexpired Contracts and Leases and (iv) Set a Date for a Sale Hearing.
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         Seller,AgentandTIAA,intheirdiscretionandafterconsultationwithcounselfortheCreditors’Committee,willqualifypotential

bidders according to their financial qualifications to consummate any purchase of the Transferred Assets.

         2.         CreditBid. PartiesinvokingcreditbidrightsunderBankruptcyCode§363(k)arenotrequiredtodepositcashanddonot

have to mark up or file their own Purchase Agreement if they do not propose to have any agreement beyond the acc

         3.         Information to be Provided. Upon written request to the Sellers by any person interested in submitting a bid for the

TransferredAssets,theSellershall,uponexecutionbysuchpersonofaconfidentialityagreementanddemonstrationoftheintenttotimely

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deliveraggregateconsiderationequaltoorgreaterthantheamountbeingbidbytheLeadBidderfortheTransferredAssets(the“Alternative

Minimum Purchase Price”).

         In the event the Lead Bidder has executed a Purchase Agreement and either (a) Seller commits a default under the Purchase

AgreementthatcausesthetransactionnottocloseorSellerreceivesaCompetingBidfromanAlternativePurchaserandconsummatesa

transactioninvolvingthesaleoftheTransferredAssetstoanAlternativePurchaserpursuanttotheseAuctionandBidProceduresforapurchase

priceequaltoorgreaterthantheAlternativeMinimumPurchasePrice;or(b)ifSellerconsummatesasaleoftheAssetstoanypurchaserwithin

365daysafterthedateofthecourtorderapprovingtheseAuctionandBidProcedures,theLeadBiddershallattheclosingofthesaleofthe

AssetstotheAlternativePurchaserreceivetheBreak-upFee. TheLeadBiddershallnotbeentitledtotheBreak-upFeeiftheLeadBidder

commitsadefaultunderthePurchaseAgreementthatcausesthetransactionnottocloseorifothercircumstancesexistthatunderthePurchase

AgreementprecludethepaymentoftheBreak-upFeetotheLeadBidder. TheLeadBiddershallnotbeentitledtotheBreak-upFeeifthesale

toanAlternativePurchaserisnotconsummatedonorbeforeoneyearaftertheSaleHearing(asdefinedbelow),unlesstheAlternatePurchaser

isanAffiliate(asthetermisdefinedin11U.S.C.§101(2))ofSeller,inwhicheventtheBreak-UpFeeshallbepayabletotheLeadBidder

wheneverthesaleoftheTransferredAssetstotheAffiliateoccursandregardlessofwhetheraCompetingBidwasreceivedfromsuchAffiliate.

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specifytheCompetingBidder’sagreementtoassumethecurecostsofsuchcontracts(s)orlease(s)andincludesufficientinformationtopermit

theBankruptcyCourt,Seller,theDIPLenders,theCreditors’Committee,andtheaffectednon-debtorpartytotheapplicablecontractorleaseto

determinetheproposedassignee’sabilitytocomplywithSection365oftheCode(totheextentapplicable),includingprovidingadequate

assurance of such assignee’s ability to perform in the future.

          5.        Auction. IfoneormoreCompetingBidshavebeenreceivedpriortotheCompetingBidDeadline,thenat1:30p.m.on

October14,2003,orsuchotherdateastheBankruptcyCourtmaydetermine,SellershallconductanauctionoftheAssetsattheofficesof

BryanCaveLLP,1200MainStreet,Suite3500,KansasCity,Missouri64105(the“Auction”). EachCompetingBidsubmittedattheAuction

must comply with the procedures set forth herein.

          PartiesinvokingcreditbidrightsunderBankruptcyCode§363(k)shallbeentitledtoexercisesuchrightsattheAuction. Eachentity

seekingtobidattheAuctionmust(i)betheLeadBidderorhavesubmittedaCompetingBidasprovidedabovepriortotheCompetingBid

Deadlineand(ii)bedeemedaqualifiedbidderbytheDebtorandAgentinconsultationwiththeCommittee,andappearinpersonattheAuction

or through a duly authorized representative physically present at the Auction.

          IntheeventnoQualifiedBidsaresubmitted,theDebtorswillnotholdtheAuctionandwillproceedtoseekapprovalofthePurchase

AgreementwithLeadBidderattheSaleHearingdefinedbelow. Notwithstandingtheforegoing,intheeventtheAuctionisnotheld,parties

invokingcreditbidrightsunderBankruptcyCode§363(k)shallbeentitledtoexercisesuchrightsattheSaleHearing. Partiesintendingto

exercisesuchrightsunder363(k)shallusetheirbesteffortstoprovideone(1)businessdaysnoticetotheDebtor,theLeadBidder,andthe

Creditors Committee of their intentions to exercise such rights at the Sale Hearing.

          If Seller receives one or more Competing Bids prior to the Competing Bid Deadline which satisfy the bid requirements, each

qualifiedbidder,andtheLeadBiddershallhavetheright(andopportunity)tocontinuetoimproveitsbidattheAuction. Allsuchadditional

bidsmustexceedthethenhighestbidbynolessthan.5%ofthecashportionofthePurchasePrice(assetforthinthePurchaseAgreementwith

theLeadBidder)orsuchotherincrementasannouncedattheAuction. CompetingBiddersarenotrequiredtoassumethesameassetsand

liabilities of the Lead Bidder.

          Seller,AgentandTIAA,afterconsultationwiththeCreditors’Committee,willselectthebidattheconclusionoftheAuctionwhich

it believes to be the highest or best bid for the Assets (“Winning Bid”). Seller, Agent and TIAA, after consultation with the Creditors’

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Committee,reservetherighttoselectthebestbid,evenifnotthehighestbid. ThedeterminationoftheWinningBidshallremain,however,

subjecttoBankruptcyCourtapproval. Seller,AgentandTIAA,afterconsultationwiththeCreditors’Committee,shalltakeintoaccountthe

value, if any, of any assumption of pension liabilities when selecting the Winning Bid. The Winning Bidder must complete and sign all

agreementsorotherdocumentswithSellerevidencingandcontainingthetermsandconditionsuponwhichitsWinningBidwasmadebefore

the Auction is concluded.

          6.         Sale Hearing. On October 20, 2003, at 2:30 p.m., or such other date and time as Seller may request, subject to

BankruptcyCourtapproval,theBankruptcyCourtshallholdahearingtodeterminewhethertoapprovetheWinningBidacceptedbySelleras

thehighestorbestbidattheAuction(the“SaleHearing”). IftheLeadBidderobjectstoSeller’sdeterminationofanauthorizedCompetingBid

asthehighestorbestbid,theLeadBidder’ssoleandexclusiveremedyshallbetobidunderprotestattheAuctionandhavestandingattheSale

Hearing to contest Seller’s determination.

          7.         CureAmounts. AtleasttendayspriortotheSaleHearing,theorderapprovingtheseproceduresshallbeservedon(i)all

parties to executory contracts and unexpired leases that could be assumed and assigned, together with a statement of the Debtors as to the

currentintentionoftheLeadBidderregardingitsintentiononacceptingtheassignmentofsuchassumedexecutorycontractsand/orunexpired

leases,alongwiththeproposedamountdueforeachsuchcontractandleaseunderBankruptcyCode§365(b)and(ii)allpartiesholdingliens,

claimsorencumbrancesagainstassetsproposedtobesoldfreeandclearofsuchliens,claimsandencumbrances. IfanyCompetingBidis

received at the Auction, notice shall be immediately sent to all parties to the executory contracts and/or unexpired leases regarding the

CompetingBidder’sintentionsconcerningtheexecutorycontractsorunexpiredleases. Furthermore,allpartiestoexecutorycontractsand/or

unexpiredleasesthatareproposedtobeassumedandassignedandwhodonotagreewiththeproposedassumptionandassignmentand/orthe

proposedcureamountsshallatleastone(1)daypriortotheSaleHearingfileanobjectionwiththeBankruptcyCourtandservesuchobjection

ontheSeller,Agent,TIAAandtheCreditorsCommitteeobjectingtosuchassumptionandassignmentand/ortheproposedcureaccountwitha

statement as to their suggested cure amount.

          8.         Failure of Winning Bidder to Consummate Sale. Provided that the Lead Bidder is the successful bidder at the Auction

andthebidisapprovedattheSaleHearing,theclosingofthesaleoftheTransferredAssetsshallbefive(5)businessdaysfollowingtheentry

ofanorderoftheBankruptcyCourtapprovingthesale,unlessextendedbyagreementoftheSellerandtheAgent. IftheLeadBidderisnotthe

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successfulbidderattheAuctionthentheclosingofthebidthatwasthehighestandbestbidattheAuctionthatisapprovedattheSaleHearing

willoccuronorbeforeNovember21,2003,unlessextendedbyagreementbetweentheSellerandtheAgent. IfforanyreasonaWinning

BidderfailstoconsummateasaleoftheAssets,oranypartthereof,theofferorofthesecondhighestorbestbid(subjecttosamereservations)

for the Assets (as determined by Seller, after consultation with the Agent, TIAA, the DIP Lenders and the Creditors’ Committee), will

automaticallybedeemedtohavesubmittedthehighestandbestbidandSellerisauthorizedtoeffectthesaleoftheAssets,oranypartthereof,

to such offeror as soon as is commercially reasonable without further order of the Bankruptcy Court. If such failure to consummate the

purchase is the result of a breach by the Winning Bidder, such bidder’s deposit, if any, shall be forfeited to Seller.

          AftertheSaleHearing,iftheWinningBidhasbeenselectedandthesaleoftheAssetstotheWinningBidderhasbeenapprovedby

theBankruptcyCourt,depositsgivenbybidderswhoarenottheWinningBiddershallbereturnedassoonaspracticable. Intheeventthe

DebtorsselectaQualifiedBidsubmittedfromanentityotherthantheLeadBidder,thePurchaseAgreementshallbedeemedterminated,the

CashDepositshallbereturnedtotheLeadBidderassoonaspracticableandthebreakupfee,ifany,shallbedueandpayable,attheclosingof

the sale.




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